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                                 IN THE UNITED STATES DISTRICT-COURT.
                                FOR THE SOUTHERN DISTRICT OF GEORGIA
                                          WAYCROSS DIVISION

                                                                           r



             UNITED STATES OF AMERICA


                   vs.                                           CASE NUMBER.: CR592-29

             DWAYNE D. HAGANS


                                                  ORDER


                   Defendant Hagans has filed a Request for Sentencing and Investigation Reports

             from his 1993 trial proceedings. Said Defendant's request is DENIED.

                   SO ORDERED, this Z dj of March, 2008.




                                                            NITED STATES MAGISTRATE JUDGE




AU 72A
(Rev. 882)
